                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF IOWA

 In Re:                                          Bankruptcy No:
 VeroBlue Farms USA, Inc.                        18-01297

 Debtor(s).                                      Chapter 11

 VeroBlue Farms USA, Inc.                        Adversary No. 19-09015

 Plaintiff(s).

 vs.

 Cassels Brock & Blackwell LLP

 Defendant( s).


  CASSELS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                              DEBTORS


TO:     The Debtors/Plaintiffs VeroBlue Farms USA, Inc. VBF Operations, Inc. VBF Transport,
        Inc., VBF IP, Inc. and Iowa's First, Inc. by and through their attorneys, Dan Childers,
        Elderkin & Pirnie, 316 Second Street SE, Suite 124, P .0. Box 1968, Cedar Rapids, IA
        52401 and Robert Lang, Thompson Coburn LLP, 55 East Monroe Street, 37th Floor,
        Chicago, IL 60603

        PLEASE TAKE NOTICE that pursuant to Rule 7034 of the Rules of Bankruptcy

Procedure and Rule 34 F. R. Civ. P., Defendant Cassels Brock & Blackwell LLP ("Cassels")

requests Debtors/Plaintiffs VeroBlue Farms USA, Inc. VBF Operations, Inc. VBF Transport, Inc.,

VBF IP, Inc. and Iowa's First, Inc. ("Debtors") produce the documents described below and

permit inspection and copying thereof by Defendants' attorneys at the offices of Schwartz Law

Firm, 600 Inwood Avenue N., Suite 130, Oakdale, MN 55128 within thirty (30) days after the

service of this First Request for Production of Documents.


        In responding these Document Requests, Debtors are required to furnish all information

that is available to them or subject to their reasonable inquiry including information in the



                                                                          EXHIBIT   __:::2,:.:!!E---
possession of their agents, attorneys, or accountants, or anyone directly or indirectly under their

control. In answering these Requests for Production of Documents, the following definitions

apply:

         (A)    "Document" means any written, printed, typed, recorded or graphic matter,

however produced, reproduced or stored, including, but not limited to, letters, memoranda,

telegrams, emails, microfilm, data stored on magnetic tape or disk, reports, booklets, sales

literature, bills of lading, invoices, statements of account, purchase orders, test reports, sketches,

designs, drawings, blueprints, notes, charts, specification sheets, photographs, notebooks,

recordings or transcripts of telephone conversations, appointment books, diaries, etc., in the

possession of and/or under the control of Debtors and/or their employees, agents or representatives

or known by Debtors and/or their employees, agents or representatives to exist, and all copies

thereof by whatever means made.

         (B)   "Identify", when used in reference to an individual person, means to state:

               i)      his or her full name;

               ii)     his or her present or last known address;

               iii)    his or her present or last known telephone number;

               iv)     his or her present or last known business affiliation; and

               v)      his or her present or last known position with such business affiliation.

         (C)   "Identify", when used in reference to a business entity (e.g., corporation,

partnership, joint venture, or sole partnership), means to state:

               i)      its full name;

               ii)     its present or last known business address;

               iii)    its present or last known mailing address;
               iv)    its present or last known telephone number; and

               v)     its principals.

        (D)    "Identify", when used in reference to a conversation, conference or meeting, means

to state:

               i)     the date and time thereof;

               ii)    the location thereof;

               iii)   the identity of all persons participating or attending;

               iv)    the identity of all documents recording, summarizing, or otherwise arising

                      from said conversation, conference, or meeting in accordance with the

                      definitions above;

              v)      the method of communication utilized (e.g., telephone,             in-person

                      communications, or other means), or if the method of communication was

                      by telephone, specify the caller and the person called; and

              vi)     a verbatim or close to verbatim account of who said what to whom

        (E)   "Identify", when used in reference to a document, means to state in a manner

suitable for use as a description in a request for production of document or in a subpoena duces

tecum, including:

              i)      the type of document (e.g., the types listed in Paragraph A above);

              ii)     its date, if any;

              iii)    its originator or author, if any;

              iv)     its addresses, if any;

              v)      its present or last known location; and

              vi)     the person or persons present having custody or control over it.
        (F)       "Cassels," when used herein shall mean Cassels Brock & Blackwell LLP.

        (G)       "Debtors," when used herein shall mean Plaintiffs VeroBlue Farms USA, Inc. VBF

                  Operations, Inc. VBF Transport, Inc., VBF IP, Inc. and Iowa's First, Inc.

        OBJECTION WILL BE MADE AT THE TIME OF TRIAL TO ANY ATTEMPT TO

INTRODUCE EVIDENCE WHICH IS DIRECTLY SOUGHT BY THESE REQUESTS FOR

PRODUCTION OF DOCUMENTS AND TO WHICH NO DISCLOSURE HAS BEEN MADE.


                                     DOCUMENT REQUESTS

       REQUEST NO.1:            Provide any and all documents identified in Debtors' Answers to

Cassels' First Set oflnterrogatories to Debtors.

       REQUEST NO. 2:           Provide all documents constituting the          contract for legal

representation and/or evidencing the attorney-client relationship between Cassels and VeroBlue

Farms USA, Inc.

       REQUEST NO. 3:           Provide all documents constituting the contract for legal

representation and/or evidencing the attorney-client relationship between Cassels and VBF

Operations, Inc.

       REQUEST NO. 4:           Provide all documents constituting the contract for legal

representation and/or evidencing the attorney-client relationship between Cassels and VBF

Transport, Inc.

       REQUEST NO. 5:           Provide all documents constituting the contract for legal

representation and/or evidencing the attorney-client relationship between Cassels and VBF IP, Inc.

       REQUEST NO. 6:           Provide all documents constituting the contract for legal

representation and/or evidencing the attorney-client relationship between Cassels and Iowa's First,

Inc.
        REQUEST NO.7:           Provide any and all documents establishing that VeroBlue Farms

Inc., a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of,

VeroBlue Farms USA, Inc.

        REQUEST NO.8:           Provide any and all documents establishing that VeroBlue Farms

Inc., a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of,

VBF Operations, Inc.

        REQUEST NO.9:          Provide any and all documents establishing that VeroBlue Farms

Inc., a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of,

VBF Transport, Inc.

        REQUEST NO. 10: Provide any and all documents establishing that VeroBlue Farms

Inc., a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of,

VBF IP, Inc.

       REQUEST NO. 11: Provide any and all documents establishing that VeroBlue Farms

Inc., a Canadian Corporation, is a subsidiary, parent or sibling corporation of, or is an affiliate of,

Iowa's First, Inc.

       REQUEST NO. 12: Provide any and all documents comprising or evidencing the

"contract with Debtors" made by Cassels to provide legal representation to Debtors as alleged in

Paragraph 4 of the Complaint.
                         SCHWARTZ LAW FIRM
Dated: August 16, 2019
                          Is/ Michael D. Schwartz
                         Michael D. Schwartz, AT0013972
                         Brandon M. Schwartz, A TOO 11248
                         600 Inwood A venue N.
                         Suite 130
                         Oakdale, MN 55128
                         (651) 528-6800
                         Mschwartz@mdspalaw .com
                         Bschwartz@mdspalaw.com
                         Local Counsel for Cassels Brock & Blackwell LLP
